 

Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:1 of 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION
IN THE MATTER OF: )
)
GENE A. DAVIS, )
) CHAPTER 7 CASE NO.:
) 18-40151-EJC
DEBTOR. )

TRUSTEE’S APPLICATION TO EMPLOY ATTORNEY

TO: THE HONORABLE EDWARD J. COLEMAN, III, JUDGE, UNITED STATES
BANKRUPTCY COURT

See pi ee

Wendy A. Owens, (Petitioner”), shows the Court the following:

Petitioner is the duly qualified and acting trustee of the estate of the above-named debtor.

It is necessary for Petitioner to employ the services of an attorney to represent her in her

official capacity in this matter as follows:

to examine proofs of claim for legal sufficiency and validity and where appropriate, file
objections to same, to prepare reviews of reports to be filed with the Court, the U.S. Trustee,
to and any other governmental body for legal sufficiency, to pursue avoidance actions and
other possible assets, and for such other purposes as may require the services of an attorney.
Petitioner proposes to employ Mark A, Bandy, an attorney with the Law Offices of Mark A.
Bandy, P.C., who practices in this district, and who does not hold or represent an interest

adverse to this estate.

In support thereof, Petitioner attaches hereto an Affidavit setting forth Petitioner’s
connections with the debtor, creditor(s), any other party (ies) in interest, their respective
attorney(s) and accountant(s), the United States Trustee, or any other person employed in

the Office of the United States Trustee.

WHEREFORE, Petitioner requests approval to employ Mark A. Bandy, an attorney with

‘the Law Offices of Mark A. Bandy, P.C., as her attorney in this matter with compensation to be

‘later determined by the Court.
_Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:2 of 7

Dated this the 30th day of April, 2019.

' Wendy A. Owens, Esq.

GA BAR No. 557809
Chapter 7 Trustee

{PO Box:8846

| Savannah, GA 31412

trustee@ coastalempirelaw.com

|
|

a
|
4
|
i
‘
i
if
1
4

\

[

 

 

il

/s/ Wendy A. Owens
WENDY A. OWENS, Trustee/Petitioner
Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:3 of 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION
IN THE MATTER OF: )
)
GENE A. DAVIS, )
) CHAPTER 7 CASE NO.:

) 18-40151-EJC
DEBTOR. )

AFFIDAVIT OF ATTORNEY

 

PURSUANT TO 11 U.S.C. § 327 AND BANKRUPTCY RULES 2014

Before the undersigned Notary Public came and appeared Mark A. Bandy who under oath, deposes

and says as follows:

This Affidavit is filed to pursuant to Bankruptcy Rule 2014(a) — a verified statement of the person to
be employed setting forth the person’s “connections” with the debtor, creditors, any other party in interest, their
respective attorneys and accountants, the United States trustee, or any person employed in the office of the
United States trustee. This statement is made to the best of the Affiant’s knowledge, information and belief,
and formed after an inquiry reasonable under the circumstances.

1. The undersigned is an attorney and counselor at law duly admitted to practice before all court of the
State of Georgia and the United States District Court for the Southern District of Georgia.
2. The undersigned practices law in Savannah, Georgia, at 102 Brandywine Road, Savannah, Georgia

31405.

QUALIFICATION OF PROFESSIONAL

3. It is expected that Wendy A. Owens (the “Trustee”) will file applications to employ an attorney for the
trustee on matters related to the Trustee’s potential recovery of assets in various Chapter 7 cases. Connections,

‘to the best of the knowledge of undersigned, with the following persons, parties or entities are as follows:

a. The Debtor: None.

b. The Trustee: None.

c. Receiver: None.

d. Creditors of the Estate: None.

e. Known or anticipated post-petition creditors of the estate: None.

f. | Equity Security Holders of the Debtor or of Affiliates of the Debtor: None.
g. Officers and Directors of the Debtor: None.
Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:4 of 7

h. Parties that are insiders of the Debtor or that were insiders of the Debtor within 2 years before
date of the filing of the petition: None.

i. Any investment banker for any outstanding security of the Debtor: None.

j- | The United States trustee: None.

k. Customers of the Debtor or vendors to the Debtor whose transactions with the debtor as of the
petition date constitute a material portion of the debtor’s business: None.

l. Parties to executory contracts and unexpired leases: None.

m. Utility service providers: None.

n. Governmental units and officials and employees thereof: None.

o. Members of any committee appointed under 11 U.S.C. § 1102 or otherwise subject to
disclosure under Rule 2019: None.

p. Any identified potential asset purchasers: None.

q. Any professional employed by any of the above persons, parties or entities: None.

4. The undersigned is eligible for employment in this case. To the best of his knowledge, Mark A. Bandy
does not hold or represent an interest material adverse to the estate, and is a disinterested person under 11
U.S.C §327(a): i.e. he/she is not a creditor, an equity security holder, nor an insider; nor is he/she been, a
director, officer or an employee of the Debtor within two years of the filing of the petition. See 11 U.S.C
§101(14).

5. Conflicts were checked prior to agreeing to representation in this case and affiant makes conflicts checks as
a matter of course. All “connections” discovered from this search are specifically listed in this Affidavit.

6. The affiant has not agreed to share any compensation with any person or entity who or which is not also

employed as counsel in this case or is authorized to be employed under Bankruptcy Rule 2014(b).

SERVICES TO BE RENDERED

7. The Trustee has requested that Mark A. Bandy render the following services in connection with the case:
a. To examine proofs of claim for legal sufficiency and validity and where appropriate, file
objections to same; to prepare reviews of reports to be files with the Court, the U.S. Trustee, to and any
other government body for legal sufficiency, to pursue avoidance actions and other possible assets, and for
such other purposes as may require the services of an attorney.
8. Affiant is not related, and to the best of his knowledge, no attorney at the firm is related, to any United
States District Judge or United States Bankruptcy Judge in the Southern District of Georgia or to a United

States Trustee for such district or any employee in the office thereof.
Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:5 of 7

9. Subject to this Court’s approval of the Application, the undersigned is willing to serve as counsel and to
perform the services as described above.
DISINTERESTDNESS OF AFFIANT

10. The proposed attorney does not believe that any of the above circumstances arise to a conflict of interest,
actual, perceived or otherwise, and she believes that she has no interest adverse to the Debtor, the Trustee or
the Debtor’s estate and that her employment would be in the best interest of the Debtor’s estate.

11. The undersigned and his firm do not hold or represent an interest averse to the interest of the Debtor’s estate
or the Trustee in the matters upon which she is engaged and is to be engaged and believes herself to be a
disinterested person entitled to represent Trustee pursuant to 11 U.S.C. §327 and that further there is no
actual conflict of interest.

12. To the best of the belief of the undersigned, the undersigned’s “connections with the debtor, creditors, any
other party in interest, their respective attorneys and accountants, the United States trustee, any person
employed in the office of the United States trustee”, have been disclosed in this affidavit.

13. To the extent that “connections” not now known become known to Affiant, Affiant will make a best effort
to get those “connections” disclosed by further amendment and reverse the right to file such amendment
after the filing of the initial Application and Affidavit.

| 14. In view of the foregoing, Affiant asserts that he is a “disinterested person” and that Mark A. Bandy is a
| “disinterested person” within the meaning of section 101 (14) of the Bankruptcy Code.
PROFESSIONAL COMPENSATION

15. The undersigned will keep track of time and charges and will bill at the rate of $250.00 per hour for Mark
A. Bandy. Invoices for services will be incorporated into an Application for Compensation, which will be
submitted to the Bankruptcy Court for approval. The undersigned will also seek reimbursement of
reasonable and necessary expenses related to representation of the Trustee in this case. Prior to the filing of
this case, Mark A. Bandy did not receive any payment from the Trustee. Mark A. Bandy expects to be paid
for fees and reimbursed for expenses as and when approved by the Bankruptcy Court from proceeds

brought into the estate through recovery and/or liquidation of estate assets.
Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:6 of 7

16. Other than as set forth above, no arrangement is proposed between the Trustee and Mark A. Bandy for

io tsd By
O

compensation to be paid in this case.

This 25th day of April, 2019.

 

/
Mark A. Bandy /
Georgia Bar Number:

Sworn to and subscribed before me

This 25th day of April 2019

 

(vy Public

weet tin,
a7
¢,

oh QhON L. R My,
esi pe 5
Sa a4
EXPIRES
‘

GEORGIA
* NOV.2, 2021"

+ OY oe
% SPURL x,
ha CO

14, TAM CO~ 8°

ae
*aoanayasvane®

*e,

seeneeerneny,
9,
ae
Fo sasiynnaaes

 
' Case:18-40151-EJC Doc#:78 Filed:04/30/19 Entered:04/30/19 15:51:04 Page:7 of 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

IN THE MATTER OF: )

)

GENE A. DAVIS, )

) CHAPTER 7 CASE NO.:
) 18-40151-EJC

)

CERTIFICATE OF SERVICE

This is to certify that I have this date served the foregoing, APPLICATION OF TRUSTEE

TO EMPLOY ATTORNEY, through CM/ECF or by depositing same in the United States Mail with
sufficient postage affixed thereon, to those addressed below:

Gene A. Davis Matthew E. Mills

PO Box 664 Assistant U.S. Trustee

Rincon, Georgia 31326 Office of the U.S. Trustee
Johnson Square Business Center

Judson C. Hill 2 East Bryan Street, Ste. 725

Gastin & Hill Savannah, GA 31401

PO Box 8012

Savannah, Georgia 31412
This the 30th day of April, 2019

/s/ Wendy A. Owens
WENDY A. OWENS, Trustee/Petitioner
Prepared by:
Wendy A. Owens, Esq.
GA BAR No. 557809
Chapter 7 Trustee
. P.O. Box 8846
Savannah, GA 31412
912-239-9888
trustee@coastalempirelaw.com
